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 1                                                                    JUDGE RICHARD A. JONES
 2
 3
 4
                                UNITED STATES DISTRICT COURT
 5
                               WESTERN DISTRICT OF WASHINGTON
 6                                       AT SEATTLE

 7
     UNITED STATES OF AMERICA,                           )   No. CR17-003-RAJ
 8                                                       )
                      Plaintiff,                         )
 9                                                       )   ORDER GRANTING STIPULATED
                 v.                                      )   JOINT MOTION TO CONTINUE
10                                                       )   TRIAL AND PRETRIAL MOTIONS
     LUIS VENANCIO CUETO-RUIZ and                        )   DATES
11   LEONARDO MATEO CUETO-RUIZ,                          )
                                                         )
12                    Defendants.                        )
13
14           THE COURT has considered the stipulated joint motion of the parties to

15   continue the trial date and pretrial motions deadline and finds that:

16           (a) taking into account the exercise of due diligence, a failure to grant a

17   continuance in this case would deny counsel for the defendants the reasonable time

18   necessary for effective preparation due to counsels’ need for more time to review the

19   evidence, consider possible defenses, and gather evidence material to the defense, as set

20   forth in 18 U.S.C. § 3161(h)(7)(B)(iv); and

21           (b) a failure to grant such a continuance in this proceeding would likely result in

22   a miscarriage of justice, as set forth in 18 U.S.C. § 3161(h)(7)(B)(i); and

23           (c) the additional time requested is a reasonable period of delay, as the

24   defendants have requested more time to prepare for trial, to investigate the matter, to

25   gather evidence material to the defense, and to consider possible defenses; and

26

                                                                       FEDERAL PUBLIC DEFENDER
      ORDER TO CONTINUE TRIAL AND                                         1601 Fifth Avenue, Suite 700
      PRETRIAL MOTIONS DUE DATE                                             Seattle, Washington 98101
      (Luis Cueto-Ruiz, et al, CR17-003-RAJ) - 1                                       (206) 553-1100
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 1           (d) the ends of justice will best be served by a continuance, and the ends of
 2   justice outweigh the best interests of the public and the defendants in any speedier trial,
 3   as set forth in 18 U.S.C. § 3161(h)(7)(A); and
 4           (e) the additional time requested between the current trial date of March 13,
 5   2017, and the new trial date is necessary to provide counsel for the defendants the
 6   reasonable time necessary to prepare for trial, considering counsels’ schedules and all
 7   of the facts set forth above.
 8           IT IS THEREFORE ORDERED that the parties’ Stipulated Joint Motion to
 9   Continue Trial Date and Pretrial Motions Deadline (Dkt. #27) is GRANTED. The trial
10   date in this matter shall be continued to May 1, 2017, and that pretrial motions shall be
11   filed no later than March 30, 2017.
12           IT IS FURTHER ORDERED that the period of delay from the date of this order
13   to the new trial date of May 1, 2017, is excludable time pursuant to 18 U.S.C. §§
14   3161(h)(7)(A) and (h)(7)(B)(iv).
15
16           DATED this 15th day of February, 2017.
17
18
                                                            A
                                                            The Honorable Richard A. Jones
19                                                          United States District Judge
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                                                                      FEDERAL PUBLIC DEFENDER
      ORDER TO CONTINUE TRIAL AND                                        1601 Fifth Avenue, Suite 700
      PRETRIAL MOTIONS DUE DATE                                            Seattle, Washington 98101
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